Case 2:04-CV-02729-SHI\/|-tmp Document 24 Filed 07/13/05 Pagel 0f2 Page|D 38

UNITED sTATEs D::sTRIcT coURT m B¥ ._,,...._ I>.¢.‘»`.
wEsTERN DISTRICT oF TENNESSEE
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CLHIK, U.S¢. f}-‘STF§I€T OOLRT
DEANDRE wRJ:oH-r, W}DOF \ejf~€PH|S
Plaintiff,
v. Cv. No. 04-2729-Ma

MAR.K LUTTR.ELL, et al.,

Defendants.
J'UDGMENT
Decision. by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Granting Defendants Motions, docketed
July 7, 2005.

APPROVEZZ ,%/,,VL_'

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

